                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                                Roanoke Division

  BH Media Group, Inc.,

         Plaintiff/Counterclaim Defendant,

  v.                                                           Case No.: 7:18-cv-00388

  Andy Bitter,

         Defendant/Counterclaim Plaintiff.

                 BH MEDIA’S MOTION TO DISMISS COUNTERCLAIM

         Plaintiff and Counterclaim Defendant BH Media Group, Inc. (“BH Media”), by

  counsel, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, hereby moves

  to dismiss the Counterclaim because it fails to state a claim upon which relief may be

  granted. The grounds and bases for the motion are set forth more fully in the supporting

  memorandum filed contemporaneously herewith.

         WHEREFORE, BH Media respectfully requests that its motion be granted; that the

  Counterclaim be dismissed in its entirety with prejudice; and that BH Media be granted

  any additional relief that this Court deems fair and just.



  Dated: September 20, 2018.                     Respectfully Submitted,

                                                 BH MEDIA GROUP, INC.

                                                 By Counsel

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                                  CERTIFICATE OF SERVICE

             I hereby certify that on the 20th day of September, 2018, I electronically filed the

  foregoing with the Clerk of Court using the CM/ECF system, which will then send a

  notification of such filing (NEF) to all counsel of record.



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